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                                           February 7, 2025

   VIA ECF and Email
   Honorable Pamela K. Chen
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

                       Re: United States v. Nikolaj Sofinskij, 19 Cr 456 (PKC)

   Dear Judge Chen:

           As a young boy, Nikolaj Sofinskij faced a number of challenges. The
   first, sadly, seemed normal to him – a father who worked in the mines,
   relatives who died in their sixties, and poverty. With that as the backdrop,
   there were the telephone calls from neighbors who saw his father passed out
   in the snow on their way home from work. The task of collecting his drunken
   father fell to him. Often, he’d blearily drag his dad home on his sled for miles
   in the freezing cold. While this task was arduous for a young boy, the
   humiliation of having a father who was the town drunk in an area that is
   well known for its copious alcohol consumption was worse. And then there
   was the fear and horror of the beatings that would follow when they arrived
   home. His father was quite egalitarian when it came to violence – first he
   would beat Nikolay’s mother and then it would be his turn. Nikolaj was
   jealous of his “friends who did not have fathers who were drunks.” 1

          As an adult, Nikolaj has tried to become a different type of man.
   Terrified that he would end up working in the coal mines, like most of the
   men in his area, he worked hard in school and went to college, hoping to
   avoid a lifetime deep inside the earth’s core. As an adult, he has always been
   eager to help his neighbors rather than requiring help from them; and, most
   importantly, he is a loving and devoted father who has instilled in his
   daughter a valuable lesson – that her life has meaning and purpose. Nikolaj’s
   family and friends, those who know him best, know him to be a dependable,
   upstanding, hardworking man who devotes his life to his family and his
   nation, Ukraine.




   1 Letter from Nikolaj Sofinskij, attached as Exhibit A.
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                          Early Years as a Miner’s Son

         Nikolaj was born in the Sverdlovsk in the Luhansk Oblast, in what
   was then Yekaterinberg, the mining area of the Soviet Union. He was born in
   1980, a year after a horrific anthrax outbreak in Sverdlovsk killed 18 people.2
   The circumstances surrounding the anthrax outbreak are murky, but there
   was speculation that it was a result of the development of bioweapons. The
   Luhansk Oblast is the type of place where the development of bioweapons
   would not be out of the ordinary. The region is used for mining asbestos, coal
   and other minerals. There, male life expectancy is in the low 60s.

          Nikolaj Sofinskij’s family identified as Ukrainian and spoke Ukrainian
   at home, but during the Soviet Union years those distinctions and tensions
   were suppressed through force, and everyone was required to learn and speak
   Russian. Luhansk was and remains a very rough area, with high rates of
   toxic pollution and a low life expectancy.3

           Nikolaj’s father, Peter Sofinskij was a coal miner which subjected him
   to life in filthy, claustrophobic and dangerous mines. Nikolaj calls it working
   in the shaft. The coal mining culture in Sverdlovsk revolved around alcohol
   and abuse, and Nikolaj’s father drank to excess morning, noon, and night. He
   was depressed and violent when he drank – he beat Nikolaj, Nikolaj’s
   brother, Demetri, and their mother Olga. Despite the widespread alcohol
   abuse among his peers, Nikolag’s father stood out among problem drinkers.




   2 Matthew Meselson, et al, “The Sverdlovsk Anthrax Outbreak of 1979” 226

   Science 1202 (1994).
   3 See, O M Korchuganova, et al., “The wastes of Luhansk region chemical and

   energy enterprises and their impact on the environment.” IOP Conf. Ser.:
   Earth and Environ. Sci. 1049, 012042, available at:
   https://iopscience.iop.org/article/10.1088/1755-1315/1049/1/012042/pdf, and
   see, Uliana Andrusiv, et al., “The influence of the Ecological Situation in
   Ukraine on the Life Expectancy and Health of the Population.” 43 Jr of the
   Institute of Landscape Ecology, Slovak Academy of Sciences 2 , 219 (2024),
   available at: https://intapi.sciendo.com/pdf/10.2478/eko-2024-0023.
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                         The Luhansk Oblast Under Siege

          Ukraine became independent from the Soviet Union in 1991, when
   Nikolaj was 11. His father continued to work in the mines, though payment
   became unreliable. The Soviet Union rationed essentials, but the system of
   payment was routine. The newly independent government of Ukraine was
   establishing itself far away in Kiev and the miners in the far west borderland
   were often not paid for their work. The people in this borderland felt
   forgotten, and those of Russian descent felt furious that they were under the
   auspices of Kiev.

         Nikolaj’s family was forced to resort to secretly and independently
   digging for coal and scavenging for discarded coal so the family would at least
   have something to keep them warm. They grew their own food so they would
   have something to eat; and what they didn’t eat, they tried to sell, together
   with the leftover coal.

         Despite the poverty, hunger and violence that defined his young life,
   Nikolaj got good grades in school, graduated from high school, and was
   accepted at the University of Luhansk. He studied hard in university and
   graduated with a bachelor’s degree in 2005. He hoped to become a sports
   trainer or physical education teacher. Boxing was his passion.

          Nikolaj met his first wife, Olga Romaschenko in 2007 and they married
   in Kharkov, Ukraine, an area about 7 hours north of Sverdlovsk a few years
   later. The couple lived in Luhansk. Nikolaj’s mother, Olga died in 2010 when
   she was 61 of a stroke. Nikolaj was 30.

          Nikolaj’s wife Olga gave birth to their daughter, Lisa, the next year in
   2011. Work was hard to find in Luhansk. But Nikolaj wanted to raise his
   family where he had been born. His brother worked in the coal mines where
   Nikolaj’s father worked. While Nikolaj wanted to provide for his family, he
   feared a life in the freezing underground that he associated with alcoholism
   and abuse. He found work as a bodyguard and a driver. He also volunteered
   his time with the Ukrainian border patrol – helping protect Ukraine from the
   Russian paramilitary armies that were always threatening to invade.

         Tensions between the Russians and Ukrainians continued to simmer
   in 2013; and, in 2014, as ethnically Russian people living in Ukraine, with
   the backing and firepower of Russia, took over the entire Luhansk Oblast.
   Nikolaj’s work at the border put him and his family at risk. The new Russian
   government gave Nikolaj the choice of fleeing into Ukraine or prison. As his
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   family fled to Kharkov with a group of evacuees, Russian soldiers shot at the
   backs of the fleeing families, killing many.
          A friend, Andrey Zhadan who has known Nikolai for more than 20
   years, remembers what Nikolaj and his family went through when Luhansk
   was invaded. “His family was forced to hide in the basements because of the
   air raids. They had no electricity, no means of communication, no water, no
   food. Nikolaj did everything possible in order to find food and other
   necessities for his family and, most importantly, for his daughter. In 2014,
   Nikolaj committed himself to helping the Ukranian Army.” 4

          The next year, at the age of 65, Nikolaj’s father, Peter, died of alcohol-
   related complications and a stroke.

          Nikolaj and Olga tried to make their marriage work in Kharkov but
   they both suffered from depression. Nikolaj had no friends or contacts in the
   area and the difficult life he had had in Luhansk seemed easy by comparison.
   Nikolaj was desperate for work to provide something for his family. He had
   few family or personal connections in Kharkov who could offer him a job.
   When someone told him he could have a job purchasing electronics in the
   United States, it seemed too good to be true. Nikolaj was desperate and the
   harms and consequences seemed far away. He agreed to act as a ‘stuffer’ – a
   person who purchased electronics using credit cards without authorization.
   He had the electronics shipped to addresses of people he didn’t know, at the
   direction of the ‘drop manager’. Nikolaj was far from an organizer or leader,
   and was paid a commission by the ‘drop managers’ for his work. As he writes
   in his own letter to the Court,

                 We settled in a new city that was controlled by Ukraine
                 where I started to look for a job to support my family
                 because we fled with nothing. It was around this time
                 that I agreed to the deal that brought me to this low point
                 in my life. Not that that’s an excuse, but it was a difficult
                 time in Ukraine. The economy was destroyed. All we had
                 was corruption and chaos. Taking money from this
                 business I knew that it was illegal and I knew that people
                 would suffer from it. I always felt that one day I would
                 have to answer for this conduct and pay the price for this.
                 Exhibit A, Letter from Nikolaj Sofinsky.



   4 All of the letters of support can be found in Exhibit B.
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          Olga and Nikolaj divorced around this time. The divorce was amicable
   and Nikolaj’s ability to nurture his relationship with his daughter was not
   hindered by the divorce. He shared with counsel, with some pride, that he
   was there for all her major milestones and events – from her first day of
   school to summer vacations. He felt blessed that his daughter lived with
   Nikolaj for years after the divorce.

          Nikolaj remained in Kharkov and met a new partner, Ievgeniia Butova
   in 2020. Ievgenia is an emergency room physician. When Ievgeniia met
   Nikolaj she was taken by what she saw – he was a kind, sensitive and loving
   man, and she was struck by the closeness of his relationship with his precious
   daughter. Nikolaj was a doting and caring father. As Ievgeniia became closer
   to Nikolaj and learned about his father, she was struck by what a dramatic
   change Nikolaj was able to make in his own family narrative. He was intent
   on breaking the cycle of violence and despair with his own daughter. Instead
   of getting drunk, he would help her with her elementary school homework
   assignments. He wanted to instill in his daughter the kind of things in life
   that really mattered. Instead of passing out drunk in the snow, he was taking
   walks with his daughter after school and discussing what she had learned
   and observed. He wanted her to have a different life, to not know the fear and
   humiliation that were the mainstays of his childhood. He wanted a happy
   and fulfilling life for her, where she knew that her father cherished her. He
   wanted to shield her from the harsh realities in war-torn Ukraine. Ievgennia
   writes:

                 I know him as a kind, sensitive and loving man, who is
                 always ready to lend a helping hand even to strangers.
                 When we met, his 7-year-old daughter Elizaveta lived
                 with him.5 We began to spend a lot of time together, and I
                 saw firsthand what a loving and caring father Mykola is.
                 All responsibilities for the child then lay on him and he
                 happily took her to all the clubs, organized leisure time
                 for her, every day walks and doing whatever he could to
                 show his love. He was always ready to support her, listen
                 to her and be there for her… Even when the mother
                 decided to return to living together with her daughter,
                 Mykola still did a huge part in raising the child. Every
                 day he picked his daughter up from school, then took her
                 to clubs or for a walk, and did homework with her. He was

   5 Due to the translations and interpretations, some of the names are quite

   different in the Latin alphabet on the PSR and in the letters.
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                 always present at all holidays and events at school. His
                 daughter spent every weekend and every vacation with
                 us. I don’t know a more caring, loving and involved father
                 than Mikola. I know that being away from her is breaking
                 his heart.

          Nikolaj stopped working as a stuffer in
   2017, when he was able to find work as a taxi
   driver. Because he’d met Ievegeniia in 2020,
   right as Covid began to sweep through
   Ukraine, their early years were stressful, but
   they had each other’s backs. Ievegeniia’s work
   as an emergency room physician was
   dangerous but essential at this critical time.
   To support her, Nikolaj assumed the care of
   her parents (letter from Ievegeniia’s mother is
   also attached as Exhibit B) as she worked
   increasingly long hours. Like the rest of the
   world, they thought they could finally take a
   breath when deaths from COVID started to
   subside.

           Nikolaj tried to give his daughter a normal childhood, enrolled her in
   specialized English classes and made friends in their new home. A friend,
   Sergey Gushchin wrote a letter describing his relationship with his friend
   Nikolaj. Servey writes that Nikolaj had a deep, heartfelt, and sincere
   relationship with his daughter, and remembers discussing literature with
   Nikolaj while his own son played with Nikolaj’s daughter. The men went to
   the same Church and Sergey describes Nikolja as a “deeply religious
   Christian.” Another friend who Nikolaj met in Kharkov, Andrii Asmahilov
   describes Nikolaj as a “kind and compassionate person, always willing to help
   in difficult situations. He greatly values friendly and respectful relationships.
   He is a cheerful and lively individual who enjoys sincere conversations. He
   loves and appreciates sports (and, if he wished, he could make an excellent
   children’s coach).”

          Another neighbor who met Nikolaj when he moved to Kharkov
   describes him as “good, honest, responsible, friendly and law abiding.” She
   says, “we trusted him to take care of our apartment when we had to go out of
   town on business or on vacation. Nikolaj is a very loving and caring father,
   who spends a lot of time with his daughter. Even after the divorce, the child
   lives with him half of the time.”
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          Nikolaj knew that the Putin government’s
   interest in Ukraine did not stop at the Luhansk
   Oblast. Putin invaded Ukraine outright, not just
   the borderlands, in 2022. Nikolaj dreaded
   rebuilding his life yet again, and this time he was
   afraid for his daughter and Ievgeniia’s family.
   Ievgeniia wanted to stay in Kharkov and use her
   medical skills to help the war effort. Nikolaj
   worked as a taxi driver and cared for his in-laws
   while Ievgeniia again worked increasingly long
   hours. Olga took their daughter to the Carpathian
   Mountains, on the other side of Ukraine, between
   Slovakia and Romania, where they hoped they’d be
   safe. Nikolaj hoped that the Ukrainian army would be able to stop the
   encroaching Russian army. He worked around the clock helping neighbors,
   friends, and strangers with whatever they needed. A 75 year old neighbor has
   written to the Court explaining that, “Nikolay helped me in everything. He
   chopped the wood, made fire, bought food. We spoke about his family and he
   told me about it very warmly. We lived side-by-side for a long time. I miss
   him very much and want to see him again.” The bombs got closer, and the
   family hid in the metro station or in basements – wherever they could find
   shelter below ground. They watched people killed by bombs on their streets
   and whole houses destroyed. It seemed both unbelievable and inevitable.

                       Arrest and Incarceration

          Nikolaj saw his exhausted wife and the increasing frequency of the
   bombs and knew it was time to flee. They hoped to find refuge in Poland, but
   at the border, Nikolaj was arrested on a warrant in this case and brought to
   Vaslui Romanian Prison, on the border of Moldova to face these charges. The
   prison was the site of large-scale protests where prisoners went on hunger
   strikes because they were “not given visits, no rations, no rights, we are
   treated like dogs, help us, if you leave they’d kill us.” 6 Nikolaj immediately
   waived any jurisdictional arguments and consented to extradition to the
   United States to get out of that prison as fast as possible. Still, it was almost
   four months before he was brought to the United States.

   6 Victor Lupu, “Prison Protests: One Attempted Suicide. 56 Inmates at Vaslui

   Penitentiary on Hunger Strike” Romania Journal, July 14, 2016, available at:
   https://www.romaniajournal.ro/society-people/prison-protests-one-attempted-
   suicide-56-inmates-at-vaslui-penitentiary-on-hunger-strike
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          He felt happy that the Romanian authorities allowed him to leave and
   go to America where he felt certain the prison system would be more
   humane, more sanitary, and dignified. Unfortunately, Nikolaj was brought to
   Brooklyn, MDC.

          Counsel will not bore this Court with details of the horrors that exist
   at MDC, which is rife with lockdowns, filthy inedible food, medical neglect
   and violence at every turn. Judge Brown described the prison as having
   “dangerous, barbaric conditions” in a sentencing decision that outlines some
   of the shocking conditions which prisoners, like Nikolaj are forced to endure.
   United States v. Daniel Colucci, 23 Cr 417 (GRB) ECF #13, attached as
   Exhibit C. It has become “routine for judges in both [the Southern] District
   and the Eastern District to give reduced sentences to defendants based on the
   conditions of confinement in the MDC.” United States v. Chavez, No. 22-CR-
   303 (JMF), 2024 WL 50233, at *1 (S.D.N.Y. Jan 4, 2024).

           At MDC, inmates like Nikolaj attempt to avoid the violence and
   hostilities that exist minute-to-minute between warring gangs of prisoners,
   though he understands hardly anything that he hears because he speaks
   virtually no English. The gangs monopolize the phones and Nikolaj has
   nothing with which to barter; thus, communication with his daughter, his ex-
   wife and Ievegeniia has been extremely challenging. He is utterly alone in
   MDC without a countryman or anyone to speak his language. There are no
   Russian or Ukrainian books, television shows, or anyone to talk to in his unit.
   Miraculous, Nikolaj has been able to attain a program certificate and has a
   perfectly clear disciplinary record. 7

          Though Ievgeniia remains in Poland, Nikolaj fears that he will likely
   be deported back to Ukraine where the war is still raging. He hopes that he
   can be deported to Poland; and, to this end, counsel has been working with
   Ievegeniia and immigration lawyers in Poland to try to make that happen.
   Nikolaj hopes that if he can make it to Poland, as a refugee, he will be able to
   start his life anew, again. It has been nearly two years since Nikolaj was
   arrested on the Polish border. If he is unable to be deported to Poland, in the
   best of all possible worlds, he will land in Ukraine – where he will be forced
   to put on a uniform and fight; and, at worst, he will have to wait in
   immigration jail for the war to resolve itself.



   7 See, Exhibit D certificate from MDC.
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          Nikolaj “sincerely regrets his actions,” and the pain that his choices
   has inflicted on the people he loves and the people who suffered because of
   the criminal activity in which he involved himself. His family and loved ones
   describe a religious man who dotes on his young daughter, who is a “devoted
   and honest friend”.

         Probation recommends a sentence of two years of incarceration. We
   ask that instead the Court sentence Nikolaj to time served so that he can
   begin the arduous process of returning to his home to again fight the Russian
   army or flee and seek asylum in Poland with his family.

         Respectfully submitted,




         Susan G. Kellman
         Grainne E. O’Neill
         Attorneys for Nikolaj Sofinsky
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                          Exhibit A
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 Your Honor,

 With your permission I’d like to tell you little bit about myself and my life so you get to know
 me a little bit before you decide my future. But before I start talking about myself, I would like
 to apologize to everyone who may have suffered as a consequence to my actions. I also want to
 apologize to my family, because through my wrongdoing, they have been punished as well, and
 they just don’t deserve that. Nobody that I hurt deserves it and I will carry this burden for the rest
 of my life. At the same time, I will try to make it better – both to my family and to the victims of
 my unlawful conduct.

 I am very sorry for the things that I did. This was biggest mistake, and lesson, of my life and I
 will carry it with me for the rest of my life. I will never do anything like this ever again because
 freedom, family and self-respect are some of the most important things a person can have. My
 lawyer tells me that you will be fair in deciding my future and for that I am grateful. Life so far
 away from my family has been so very difficult. But spending that time at the MDC is simply
 cruel. Lockdowns – and distance –have made it so difficult to communicate with my family. It
 has been so hard for them – and for me. I beg you to send me home to my family as soon as
 possible.

 I was born in Donbas, Ukraine on December 9, 1980. I grew up with my parents, my older
 brother and my grandmother. I remember when I was a child we were very poor. My father was
 making pennies working in shaft and my mother worked in the hospital as a cook. My
 grandmother was bedridden for as long as I could remember her. Because my parents worked all
 the time in order to put food on the table, my older brother took on the majority of responsibility
 – he even helped me with my homework. That left me with a little bit of time to play outside.
 I'm forever grateful for that to him. Today my brother lives in an occupied territory in Ukraine,
 working in the shaft just like our father.

 My father was an alcoholic and growing up I remember my parents were fighting all the time.
 My father was physically and emotionally abusive to all of us. As a youngster, I remember like it
 was yesterday. He would often beat my mother when he was drunk and when my brother and I
 tried to defend our mother he would beat us too. My mother attempted several times to take us
 away from our father, but we always came back. My father would often get drunk after work. He
 would fall down somewhere when he was coming home and my brother and I had to go out to
 find him and carry him home. It was even worse when it was winter time and freezing
 temperatures. He would fall asleep in the street where he’d fallen. Sometimes neighbors would
 find him on the street and they will let us know so we can go and get him. I remember that we
 would take our sled, because that was the only way we could get our father back to our
 apartment. Sometimes we had to drag him for miles while barely holding back tears. Once home,
 I would break down and start crying until my brother or my grandmother would calm me down. I
 was always jealous of my friends who did not have fathers who were drunks.

 At that time Ukraine was part of the Soviet Union. In the Soviet Union electricity was rationed
 on a schedule and if I did not get my homework done during daylight, studying with the oil lamp
 was really challenging.




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 I always worried about my parents dying and that I would be left an orphan. I remember one
 time when our parents gathered our things and took me and my brother to the orphanage. I will
 never forget the looks on the kids’ faces when we arrived. They were happy and sad at the same
 time. The conditions there were so bad I remember asking my brother if we could take some of
 the orphans home. I was young, and there were a lot of things I could not understand. There are
 things in life that I still have difficult time understanding.

 I was 15 years old when for the first time in my life I had to deal with life and death situation.
 All of a sudden, my father's heart stopped. Just a few days before this we buried my
 grandmother. While I had no experience I had seen people perform CPR so I started to give my
 father what I thought was CPR. In reality, I was just beating on his chest. I just knew I could not
 panic. He did not die that day and our family was very happy and we all pray to God for saving
 his life.

 Happy times were few and far between. There is nothing better for a child than a happy family.
 And now, I can never forgive myself, because my actions are causing my daughter so much pain.
 I pray every day that we will be united soon.

 In the spring of 2010, I also got married and found out what it was like to have a loving family.
 Unfortunately, later in 2010 my mother left this world. She died of a heart attack. I can’t even
 describe the pain. It was like part of me died at that time. I think that the love I felt from my
 mother inspired me to be a loving dad for my daughter, who was born in 2012.

 Unfortunately, in about 2013-2014 there was a revolution in Ukraine. This triggered. an invasion
 by Russia and Russia’s occupation of Ukrainian territories. At the time I worked as a volunteer
 with border control. The Russians obtained personal information/documentation about everyone
 who had worked in these jobs. The Russian authorities gave me an ultimatum – either leave the
 city or I was going to be arrested and put in prison when nobody would guarantee that I would
 survive. Consumed with fear, I gathered up my family, we collected a few necessary things that
 we could carry and left the city. We drove quickly to cross the border. We were the lucky ones –
 though we didn’t feel that lucky.

 We settled in a new city that was controlled by Ukraine where I started to look for a job to
 support my family because we fled with nothing. It was around this time that I agreed to the deal
 that brought me to this low point in my life. Not that that’s an excuse, but it was a difficult time
 in Ukraine. The economy was destroyed. All we had was corruption and chaos. Taking money
 from this business I knew that it was illegal and I knew that people would suffer from it. I always
 felt that one day I would have to answer for this conduct and pay the price for this.

 I did my best to support my family, but it wasn’t always enough. Unfortunately, after nine years
 of marriage, my wife and I decided to get divorced. Divorce was amicable and I was able to see
 my daughter as much as I wanted to and I did. I did everything so my daughter would not be
 affected by the divorce. I was there for every major event in her life. I was there for her first day
 of school. I was there for summer vacations and any excursions that she went on.
 Now I dream about having a family and more kids with my fiancée Evgenya, who is a doctor.




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  And then - the war. My ex-wife and my daughter managed to get to safety. When the bombs
  started flying, my fiancee, her parents and I huddled in the basement of our building with our
  neighbors. My fiancee and I managed to get through those difficult days, weeks and months
  together - caged like animals. My fiancee was able to escape to Poland.

  In June of 2023, I decided to go to Poland to be with my fiancee, but 1 was arrested on the border
  and taken to Romanian jail. I was informed about my charges and just like that, I changed from
  an ordinary citizen to an inmate behind bars. I remembered something my friend said to me -
  life is like a supermarket you go in you take everything you want but at the end there is a
  checkout and you have to pay for everything. Every day I think about why I'm here and I realize
  that the cost of breaking the law was not worth it. The thought that I caused innocent people to
  suffer is crippling for me.

  I hope this letter gives your honor an idea about who I am and you will believe me that I will
  never ever commit another crime in my life. Once again apologize for what I've done and beg
  your Honor to allow me to return to my life overseas. I long to be reunited with my fiancee and
  my beautiful daughter, who I miss more than anything in this world.




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                          Exhibit B
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 Hon. Pamela K. Chen
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brookly, NY 11201


 Dear Judge Chen:
 I, Andrey Zhadan, am a very close friend of Nikolai Sofinskij. I am an entrepreneur and a
 businessman. I own hotels in the Ukrainian city of Berdyansk, which at the present time is
 occupied the Russian troops.
 Nikolai and I have known each other for more than 20 years.
 I have known him to be kind-hearted, excellent friend, a good family man and a caring
 father for his daughter.

 In 2014 Russia invaded our country and started the war. At that time Nikolai was in the
 Ukrainian city Lugansk, which was one of the first cities that was shelled, attacked and
 bombed. Nikolai was married to his first wife at that time and had a two year old daughter.
 His family was forced to hide in the basements because of the air raids. They had no
 electricity, no means of communication, no water, no food. Nikolai did everything
 possible in order to find food and other basic necessities for his family and, most
 important, for his child. In the same year, 2014 Nikolai was helping the Ukrainian Army.
 When the civilians finally were given the chance to leave through what is called “The
 Green Corridor”, Nikolai and his family were able to do so.
 After that followed the difficult years of moving through the numerous cities of Ukraine in
 order to find a place to live and a place to work. The war took everything that they had. It
 was a very hard test for the family. Shortage of money, unstable work situation – all that
 led to a rift in the family and eventually – to the divorce.
 I know how difficult it was for Nikolai to go through the divorce because he always was
 an exemplary family man and tried to do whatever it took to save his family.


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 Nikolai is a loving and caring father. On many occasions I witnessed his relationship with
 his daughter, including those times when they would come to stay in my hotel during their
 vacations.
 The full-scale war caught up with Nikolai and his present family when they were already
 living in Khar’kov. For Nicolai events repeated themselves again: the bombing, the
 shelling, the basements, food and gasoline shortages and another job loss and loss of all
 means of support.
 Nikolai was taking care of and was helping his wife and her elderly parents. He helped
 them as much as he could and later, when he was able to, he evacuated them abroad.
 Nikolai was also doing volunteer work. He was getting bulletproof vests and medications
 for the emergency room where his wife worked. He was volunteering his time to help
 wounded warriors.
 I know that Nikolai sincerely regrets his actions. I also know that his family impatiently
 awaits his return, and they are very upset about these events. I hope for the best and I am
 asking you to show mercy and leniency to my friend Nikolai Sofinskij during his
 sentencing.
                                                                  08/24/2024
                                                                   signed: Zhadan A.A.




 _______________________________________
 By translator: words in English are in Italics


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             LETTER FOR NIKOLAI SOFINSKIJ IN FAVOR OF LENIENCY

 Hon. Pamela K. Chen
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brookly, NY 11201


 Dear Judge Chen:
 I, Sergey Gushchin, am a friend of Nicolai Sofinskij. I work as a volunteer in Ukraine, and
 I am also a self-employed entrepreneur. We met in 2018 in a prep school #116 where his
 daughter       and my son Ivan attended Cambridge English Language Classes. Nikolai
 was very involved in his daughter’s daily school activities: he would take her to school,
 after classes he would pick her up, he participated in school gatherings, he played with
 children and helped with school repairs. His relationship with his daughter is deep,
 heartfelt and sincere.     misses him terribly and is awaiting her father’s return. With
 regard to our relationship – Nikolai proved himself to be a devoted and honest friend. We
 took long walks in the parks, discussed books in the evenings over dinners while our
 children played with their toys. By the way, he knows how to prepare the most delicious
 meals into which he puts his soul and his love. We played sports together and we went to
 the sauna together. Nikolai is a deeply religious Christian. We went to the same church.
 When Russia started a war against Ukraine, Nikolai became very active in the volunteers’
 movement in Khar’kov: he was helping single senior citizens, he was saving people who
 were left behind and homeless animals. I, as his friend, sincerely hope that you will show
 him mercy and leniency during his sentencing.
                                                                       signed
                                                                       Gushchin S.V.
 _______________________________________
 By translator: words in English are in Italics
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                 LETTERS FOR NIKOLAI SOFINSKIJ IN FAVOR OF LENIENCY

                                  DATE:09/.09/2024


 Hon. Pamela K. Chen
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
 Dear Judge Chen:


 I, Irina Anatolyevna Butova, am a citizen of Ukraine living in the city of Kharkov. I am a nurse by
 profession. Before retiring, I worked for the International Red Cross.

 I met Nikolai Sofinsky about 5 years ago. He is the common-law husband of my daughter Evgeniya
 Butova. We met at a difficult time for both our family and the country. Since my daughter and I are
 medical workers, we were among the first to meet COVID-19. Our whole family got sick. In Ukraine, as
 in the whole world, there was a very difficult situation both with medicines and places in hospitals.
 Nikolai came to the rescue. He went to all the pharmacies in the city, brought medicines. And when the
 situation became critical, he was still able to agree on hospitalization. They could not save my mother, but
 my husband and I recovered. Thanks to Nikolai, I can now write this letter. I am very grateful to Nikolai
 for his help. After this ordeal, the war began. It was the second invasion. In 2014, I was working for the
 Red Cross and was accepting refugees from Donbass. And in 2022, Kharkov was already being bombed.
 Nikolai went to the military registration and enlistment office on the very first day, but he was not called
 up. My daughter worked in an ambulance. And Nikolai brought the first helmets and bulletproof vests for
 the ambulance team. There were shortages of food in the city. Nikolai took on all the care of us. And then,
 sitting in the basement during the bombing, I learned about Nikolai. He is from a poor family, his father
 abused alcohol and died early. Nikolai started working early, while still in school, to help his mother. But
 the difficult conditions did not prevent him from graduating from the State University of the city of
 Lugansk. Nikolai has a daughter from his first marriage. A wonderful girl! Nikolai paid a lot of attention
 to the upbringing and education of his daughter. I got to know Nikolai as a responsive, kind person who is
 always able to lend a helping hand. It was Nikolai who insisted that we go to a safe place. We entrusted
 him with all our property.

 I know that Nikolai admitted his guilt. I believe that he repents of what he did and regrets what happened.
 I am sure that Nikolai will never make such mistakes again. I know that the United States has the
 strongest and fairest judicial system. I ask the Court to be humane and lenient and believe in Nikolai so
 that he can return to normal life as soon as possible and start everything from scratch. Give him this
 chance. I believe in him




                                                                   Irina Butova
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 Я, Бутова Ирина Анатольевна, гражданка Украины, проживающая в городе Харьков. По
 специальности я медицинска сестра. До ухода на пенсию я работала в Международном
 Красном Кресте.

 С Николаем Софинским я познакомилась около 5 лет назад.. Он является гражданским
 мужем моей дочери Бутовой Евгении. Встретились мы с ним в тяжёлое время как для нашей
 семьи,так и для страны. Так как мы с дочерью медицинские работники, то COVID- 19
 встретили одними из первых. Заболела вся наша семья. В Украине, как и во всем мире,была
 очень тяжелая ситуация как с медикаментами, так и местами в больницах. На помощь
 пришёл Николай . Ездил по всем аптекам города, привозил медикаменты. А когда ситуация
 стала критической, смог все - таки договориться о госпитализации в больницу. Маму не
 смогли спасти, а муж и я выздоровели. Благодаря Николаю я могу сейчас писать это письмо.
 Я очень благодарна Николаю за его помощь. После этого тяжёлого испытания началсь война.
 Это было второе вторжение. В 2014 году я, работая в Красном Кресте, принимала беженцев из
 Донбасса. А в 2022 году уже бомбили Харьков. Николай в первый же день пошёл в военкомат,
 но его не призвали. Дочь работала на скорой помощи. И первые каски и бронежилеты для
 бригады скорой помощи привёз Николай. В городе были тяжело с продуктами. Николай всю
 заботу о нас взял на себя. И вот тогда, сидя в подвале во время бомбежек,я узнала о Николае.
 Он из бедной семьи, отец злоупотребрял алкоголем и рано умер. Николай рано начал
 работать, ещё учась в школе, чтобы помагать матери. Но трудные условия не помешали ему
 закончить Государственный универсисет города Луганска. У Николая есть дочь от первого
 брака. Замечательная девочка! Николай очень много внимания уделял воспитанию и
 образованию дочери. Я узнала Николая как отзывчивого, доброго,способного всегда
 протянуть руку помощи человека. Именно Николай настоял на том,чтобы мы ехали в
 безопаное место. Мы доверили ему все наше имущество.

 Я знаю,что Николай признал свою вину. Я верю, что он раскаивается в содеянном и жалеет о
 случившемся. Я уверена, что Николай больше никогда не совершит подобных ошибок. Я
 знаю, что в США самая сильная и справедливая судебная система. Я очень прошу Суд быть
 гуманным и снисходительным и поверить Николаю, чтобы он как можно скорее вернулся к
 нормальной жизни и начал все с чистого листа. Дайте ему этот шанс. Я верю в него
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 Hon. Pamela K. Chen
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brookly, NY 11201

 Dear Judge Chen:
 I, Krivosheyeva, Yelena Borisovna, was born in Ukraine, in the city of Khar’kov. Prior to
 the start of the full-scale war, I worked as a clothes designer. I have known Nikolai since
 2014. That was the year when he and his family were forced to move to Khar’kov due to
 the unsafe situation in his hometown Lugansk. Since his family did not own any
 properties in Khar’kov, they rented an apartment which happened to be next to my
 apartment and that is how we got acquainted.
 I can say that in the course of our frequent communications and long standing
 relationships with Nikolai he proved himself to be a good, honest, responsible, friendly
 and law abiding man. He has never been seen in the company of suspicious individuals.
 He is very accommodating, has good communication skills, and is very attentive and
 friendly to the person he is communicating with. Since our relationship was very friendly
 and long standing, we trusted him to take care of our apartment when we had to go out of
 town on business or on vacation.
 Nikolai is a very loving and caring father, who spends a lot of time with his daughter.
 Even after his divorce, the child lives with him half of the time.
 I know that Nikolai admitted his guilt and that he is very sorry for what he has done. He
 wants to reunite with his wife Evgeniya as soon as possible, he wants to start working
 again and restore his life.
 On behalf of my family, we ask you to show leniency and mercy to Nikolai during his
 sentencing.
 11/24/2024                                                       signed
 _______________________________________
 By translator: words in English are in Italics
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                                                                                      DATE: 23/07/2024
     Hon. Pamela K. Chen
     United States District Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

     Dear Judge Chen:

     I, Kovalyova Natalya, as an English language teacher for children. I am 75. On 22nd of February
     2022 the war between russia and Ukraine broke out. Kharkiv was the first city that was bombed. On
     23rd of February I had to move to my country house in Chuguyev district. I wasn’t ready to go there
     in winter, but the next day I met Nikolay who lived next house to ours. I felt impossible to do many
     things because of my age.

     But Nikolay helped me in everything. He chopped the wood, made fire, bought food. We spoke about
     his family and told about it very warmly. We lived side-by-side for a long time. I miss him very much
     and want to see him again.
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                          Exhibit C
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 UNITED STATES DISTRICT COURT                                              2:20 pm, Aug 05, 2024
 EASTERN DISTRICT OF NEW YORK                                                   U.S. DISTRICT COURT
 --------------------------------------------------------------X           EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA,                                                      LONG ISLAND OFFICE

                                                                    MEMORANDUM OF
                                                                    DECISION &
                  -against-                                         ORDER

 DANIEL COLUCCI,                                                    23-CR-417 (GRB)

                                     Defendant.
 ---------------------------------------------------------------X
 GARY R. BROWN, United States District Judge:

         Most judges would agree that, under ordinary circumstances, sentencing represents their

 most difficult and complex responsibility: after considering the advisory United States

 Sentencing Guidelines, a broad array of statutory factors must be carefully applied to the factual

 circumstances of each case and tailored to the individual defendant in an effort to effect justice

 and the statutory requisites. In this case, the determination is further complicated by an extrinsic

 factor that looms large in nearly every bail and sentencing determination made in this judicial

 district: the dangerous, barbaric conditions that have existed for some time at the Metropolitan

 Detention Center (“MDC”) in Brooklyn.

         Relevant Facts in Determining the Appropriate Sentence

         This case involves a significant tax fraud, including a dozen counts of conviction and

 nearly $1 million dollars wrongfully diverted from federal taxing authorities. The defendant

 misappropriated sums withheld from his employees’ paychecks that were intended for tax

 payments and intentionally failed to make employer matching contributions. Crimes against the

 public fisc—funds intended for the maintenance of Government programs to benefit the public

 good—are very serious. Yet this crime goes beyond a simple theft of tax monies. In this case,

 the defendant took money from the Government and his employees—people who generated

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 income for him through their time and effort on behalf of his business—and who were left

 holding the idiomatic bag. They were subject to tax problems, faced IRS reviews and penalties,

 had Social Security issues and were denied refunds. When confronted, the defendant lied to

 them, falsely denied knowledge of his misdeeds and misdirected them to his accountant. Four

 of defendant’s former employees appeared at the sentencing hearing to describe the impact

 defendant’s machinations had upon them.

         In these circumstances, it is this Court’s duty to consider the Guidelines, balance the

 § 3553(a) factors and craft an appropriate sentence—one that is sufficient but not greater than

 necessary to effect the statutory goals. The advisory United States Sentencing Guidelines

 suggest a term of imprisonment of 18 to 24 months. In this Court’s view, this is a case that,

 particularly in light of nature of the offense, the significant violation of trust, and the need for

 general deterrence, warrants a term of incarceration. When this defendant decided to steal close

 to $1 million of withholdings and related contributions—money that belonged to his employees

 as well as sums he was obligated to pay to the federal government as the result of operating a

 profitable enterprise—he must have known that a likely outcome of that decision was a term in a

 federal prison. But he did it anyway. The reasons that the defendant, an individual of substantial

 means, carried out this scheme, remain something of a mystery.

         Though defendant pled guilty, and is getting credit for acceptance of responsibility, there

 are reasons to question the depth of his remorse. For example, according to the Pre-Sentence

 Report, a document the defendant reviewed with his counsel and was given opportunity to

 correct, his spouse stated that if the defendant were sentenced to incarceration, “her only form of

 income would be her social security benefits, and she did not think that would be sufficient to

 support herself.” PSR, Docket Entry (“DE”) 7 ¶ 36. Meanwhile, that same document reports




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 more than $1.4 million in cash and securities held in accounts solely in the spouse’s name, and

 the couple jointly has a net worth of more than $5 million. Id. ¶ 57. While the Court does not

 hold the defendant accountable for misstatements by his spouse, the failure to correct the record

 proves troubling. Moreover, that the defendant has substantial assets renders his decision to

 pilfer nearly $1 million from his employees and the Government inexcusable. Finally, though

 the issue has now been remedied, the defendant appeared somewhat reticent to make full

 restitution in this matter, having delayed making payments for years despite having the means to

 do so.

          At the same time, the Court recognizes that this was aberrant behavior on the part of the

 defendant in an otherwise productive life, and that he has levels of community support attesting

 to otherwise good character. Moreover, the Court must also consider that, at 74, the defendant is

 at a relatively advanced age and has indication of some medical problems, including a recent

 cancer diagnosis. As to that, though, the record is rather scant as to the future medical

 implications. On balance, however, the § 3553(a) factors, including the seriousness of the

 offense, promotion of respect for the law, just punishment, and adequate deterrence to criminal

 conduct demand that some period of incarceration be imposed.




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        The Conditions at MDC

                      “What are you waiting for, another loss of inmate life?”

                                               -   Rhonda Barnwell, President,
                                                   Government Employees, Local 25 1

        At this moment, though, the Court is faced with a problem that lies outside the confines

 of this case. For several years, beginning with the COVID-19 pandemic, allegations have

 swirled around the conditions at the MDC, the only federal prison facility in this district and

 serving this region. 2 And this problem affects most bail and sentencing determinations made by

 this Court.

        The issues at MDC are not limited to circumstances that were necessitated by the COVID

 pandemic—a period in which prison officials were forced to resort to extreme measures to

 contain a deadly virus that could well have wreaked havoc within their facilities. As a result of

 those circumstances, in which prisoners were regularly subject to 24-hour lockdowns and related

 deprivations, it has become “routine for judges in both [the Southern] District and the Eastern

 District to give reduced sentences to defendants based on the conditions of confinement in the

 MDC.” United States v. Chavez, No. 22-CR-303 (JMF), 2024 WL 50233, at *1 (S.D.N.Y. Jan.




 1
   Ms. Barnwell posited this ominous interrogatory in an October 2023 memo decrying the
 staffing shortages and dangerous conditions faced by inmates and correctional officers at MDC.
 Chavez, 2024 WL 50233, at *2 n.9. Given that there have been at least two inmate deaths since
 Ms. Barnwell’s prophetic inquiry, a new question arises: what will it take before the situation is
 remedied?
 2
   Until relatively recently, some pre-trial defendants in this district and the Southern District of
 New York were housed at the Metropolitan Correctional Center in Manhattan. That facility was
 closed in mid-2021 due to deteriorating conditions, and the principal responsibility for housing
 all inmates from the two districts fell to MDC. One might expect that, having shuttered MCC,
 officials of the BOP would shift substantial resources and personnel to MDC, ensuring that the
 institution would be up to the task. Alas, this does not appear to have been the case.

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 4, 2024). Indeed, the undersigned has frequently and explicitly reduced sentences imposed to

 help offset the excesses of COVID-era incarceration.

        Allegations of inhumane treatment at MDC continue, however, and judges in this district

 are subject to a steady drumfire of such charges, often uncontested by prosecutors. And these

 issues continue to affect judicial determinations. In United States v. Chavez, contrary to

 statutory presumptions, Judge Furman ordered that a narcotics defendant subject to a multi-year

 sentence remain at liberty pending surrender, based largely on the conditions at MDC. 2024 WL

 50233, at *6. In United States v. Griffin, No. 22-CR-408 (EK), 2024 WL 2891686, at *3

 (E.D.N.Y. June 10, 2024), Judge Komitee granted a motion for compassionate release based

 primarily on the conditions at MDC for a defendant serving time for violating supervised release.

 Cf. United States v. Santana, No. 22 CR. 368 (VM), 2024 WL 2275037, at *2 (S.D.N.Y. May 20,

 2024) (“Given the severe prison conditions that prevail at the MDC (conditions that amount to

 imposing harsher punishments on prisoners), this Court and others have adjusted sentences of

 defendants in custody there for lengthy periods.”). In yet another case, Judge Cogan indicated

 that he might have sentenced an offender to incarceration “if not for the length of the sentence

 landing him in the Bureau of Prison’s Metropolitan Detention Center in Brooklyn.” 3

        In Chavez, Judge Furman identified three areas of concern in the post-COVID conditions

 at MDC: (1) continued reports of inordinate periods of lockdown, (2) claims that the facility

 provides inadequate and/or substantially delayed necessary medical care—a particular risk in this

 case and (3) general issues about the conditions at the facility. 2024 WL 50233, at *5.




 3
  “‘Such a Weird Case’: US Judge Sentences Platinum Partners Co-Founder to Six Months
 Home Confinement,” New York Law Journal, July 16, 2024, available at
 https://www.law.com/newyorklawjournal/2024/07/16/such-a-weird-case-us-judge-sentences-
 platinum-partners-co-founder-to-six-months-home-confinement/?slreturn=20240620105128

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 Allegations of inadequate supervision, unbridled assaults and lack of sufficient medical care 4 are

 supported by an increasing body of evidence, with certain instances that are irrefutable. Griffin,

 2024 WL 2891686, at *3 (“it has been well documented that the MDC has an ongoing issue with

 frequent lockdowns due to violence and the threat of violence, among other concerns, which has

 delayed medical care for a number of inmates”).

        That critical medical care is frequently delayed or denied within the facility seems no

 longer in doubt. Id. (finding that MDC “has delayed medical care for a number of inmates”).

 On June 4, 2024, Michael Arthus, an assistant federal defender in the Southern District of New

 York, wrote a letter to the undersigned concerning a recent incident in which his client, a diabetic

 MDC inmate, reported losing consciousness in his cell. United States v. Bumpass, 23-CR-183

 (GRB), DE 31-36. Notably, neither Mr. Arthus nor his client had a role in the case before this

 Court. Due to MDC staffing shortages, Mr. Arthus reports, there were no guards on the unit. As

 a result, a defendant being prosecuted here attempted to summon a corrections officer for help to

 no avail and then tried a panic button, which was broken and yielded no results. While these

 conditions—prisoners locked down in housing units without any guards present combined with

 inoperable panic buttons—may seem unimaginable, it is well established that such deficits have

 been long persisted at MDC. 5 According to Mr. Arthus, left with no alternatives, the inmate:




 4
   Some other allegations—by way of example, oft-cited maggots in the food—remain unverified
 and may well, based upon some ongoing investigations, turn out to be exaggerated.
 5
   Chavez, 2024 WL 50233, at *7 n.16 (corrections officer union official reporting that “on a daily
 basis housing units are left. unmanned by staff and locked down”); *7 (“the Court was advised
 that many, if not most, of the emergency call buttons in the MDC's main building are not
 working — even though those buttons are the only way (other than yelling and banging) to call
 an officer in emergency situations during a lockdown”) (citing Letter from Loretta E. Lynch at 4,
 Federal Defenders of New York, Inc., No. 19-CV-660 (MKB) (E.D.N.Y. Nov. 30, 2023), ECF
 No. 403 (reporting that the buttons remained “broken” as of November 30, 2023)).



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        spent the night nursing my client back to health: he placed cold towels on my
        client’s head to wake him up and keep him awake, fed him sweets to bring his
        blood sugar back up, and stayed with him throughout the night to make sure he
        did not lose consciousness again.

 Id. When individuals are confined in a federal facility, such exceptional acts should not be

 required to ensure basic safety and medical care.

        While evidence of failures at MDC continues to accumulate, there is no complete public

 record of the problem, and the available information is contained in judicial opinions from two

 districts and sporadic media reports. In the pages that follow, the Court has endeavored to

 highlight some matters that have come to light recently to make determinations in connection

 with the sentencing in this case. The list is far from comprehensive; in fact, this Court lacks

 visibility into the overall issues. Furthermore, as another judge has previously observed, “there

 are far too many cases to cite.” Chavez, 2024 WL 50233, at *1 n.3 (collecting “representative

 examples” of complaints of lockdowns, dreadful conditions and delayed medical care).

        One case before this Court includes incontrovertible evidence submitted by the

 Government that highlights chaotic, unremedied lawlessness at the facility. That matter involves

 the prosecution of the “Route Boys,” a robbery crew engaged in brazen, systematic thefts of

 extremely dangerous narcotics from pharmacies which were sold by members and associates

 using social media, including an Instagram account. The Government has submitted




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 photographs taken of and by gang members while in their cells at MDC, showing off their tattoos

 and flashing hand signs. United States v. Lopez Dominguez, 21-CR-451(GRB), DE 363 at 4.




 Members of the Route Boys posting photos via lnstagram using contraband cell phones from inside their cells at MDC


 These photos, apparently created using smuggled contraband cellphones, have been posted on

 Instagram by gang members from MDC using the ve1y same account the defendants used to sell

 stolen opioids before their anest. Id.

         While submitted to the Comt in July 2024, the Government advises that these photos

 were first shared via several gang Instagram accounts between July and September 2022,

 approximately two years ago. Id.; DE 367 at 4 n.2. That the Government contemporaneously

 became aware of these activities within MDC and the legal violations, security issues and



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 possible public corruption attendant thereto is beyond doubt. Id. at 4 (“Each photograph was

 screen shotted [sic] by a law enforcement agent on or about the date that it was posted on the

 respective Instagram accounts.”). One former MDC corrections officer, arrested in April 2023,

 was sentenced to 30 months after he “accepted tens of thousands of dollars from inmates in

 exchange for smuggling narcotics, cigarettes, and cell phones into the MDC.” Statement of

 United States Attorney Breon Peace, dated July 30, 2024. 6 Yet, the situation at MDC

 nevertheless seems unchanged as “[c]ontraband—from drugs to cell phones—is widespread.”

 Chavez, 2024 WL 50233, at *1 (collecting cases and media reports of illicit cellphones within

 MDC). 7 The results of such anarchy are predictable.

        “Unchecked Violence” at MDC

        Chaos reigns, along with uncontrolled violence. Griffin, 2024 WL 2891686 at *3

 (describing rampant “violence and the threat of violence” at MDC). Through review of sealed

 documents, official government statements, judicial opinions and news media reports, this Court

 has identified shocking instances of brutal violence within the facility. This review is necessarily

 limited, as the Court’s access to relevant information was exceptionally narrow. In other words,

 there were, most certainly, other incidents not collected during this Court’s review.

 Nevertheless, the results are staggering.



 6
   Available at https://www.justice.gov/usao-edny/pr/former-federal-correction-officer-sentenced-
 prison-accepting-bribes-exchange-smuggling.
 7
   In sealed, sworn documents filed with this Court, one defendant (Defendant 1) housed at MDC
 beginning in early 2024, raised detailed allegations documenting the ready availability of
 narcotics and weapons among MDC inmates, and of corrupt guards permitting the acquisition
 and use of cellphones by gang leaders, warning inmates about impending searches and
 permitting sexual and physical assaults within the facility. While some of these sworn
 allegations have not been independently verified, others are supported by corroborating
 evidence, and investigation of certain claims is continuing. The Government advised that at least
 some of Defendant 1’s information was deemed credible. To avoid risk of retaliation, Defendant
 1 will not be further identified herein.

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         Each of the five months preceding this opinion was marred by instances of catastrophic

 violence at MDC, including two apparent homicides, two gruesome stabbings and an assault so

 severe that it resulted in a fractured eye socket for the victim. One knife attack was captured on

 a surveillance video producing images that are horrifying beyond words. The activities

 precipitating these attacks are nearly as unthinkable and terrifying as the ensuing injuries: drug

 debt collection, fights over illegal narcotics, resisting an organized gang robbery, internecine

 gang disputes and as-yet-unidentified “brawls.” A summary of the available facts underlying

 each of these events follows:

        March 2024 - Defendant 2 was awaiting sentencing for conviction on a single firearms

 possession count. 8 According to sealed filings by Defendant 2, his attorney and the United

 States Probation Department, Defendant 2 reports being stabbed repeatedly at MDC in March

 2024, sustaining wounds to both arms, his abdomen and one knee. The defendant reports

 receiving no medical care, but instead was simply locked in a cell in the Secure Housing Unit

 (SHU) for 25 days. His attorney, an assistant federal defender, advised that the defendant had

 been attacked while resisting a robbery in the facility by gang members.




 8
  To avoid risk of retaliatory violence, identifying details regarding Defendant 2 are not provided
 herein.

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        April 2024 - According to information and photographs filed by the United States

 Attorney in a criminal prosecution, three members of the

 MS-13 housed at the MDC attacked a fourth inmate with

 improvised knives, inflicting 44 stab wounds on his back,

 chest, abdomen, right arm and leg. United States v. Rivas,

 18-CR-398(RPK), DE 363. The entire, brutal attack was

 captured on video. Id. That video, filed by the

 Government and recently made public, displays the

 lengthy, horrific assault, committed by inmates under no

 apparent supervision. Reports suggest that the leader of the attack, serving 35 years for a near

 decapitation in an internecine gang dispute, is also serving time for stabbing a rival gang member

 in an NYC jail. “Unchecked Violence,” New York Daily News, July 28, 2024. Viewing the

 security video footage 9 reveals many things: the three inmates perpetrated this organized, armed

 attack in an open area unimpeded by any supervision, the response to the event took an

 unconscionably long time, and the victim, suffering from 44 knife wounds, was left unaided

 while a few outnumbered corrections officers eventually attempted to pursue the attackers.

        May 2024 – Christian Griffin had served about five weeks of a 90-day sentence at MDC

 for shoplifting while on supervised release. Griffin, 2024 WL 2891686 at *1. On May 15, he

 advised a corrections officer on his unit of a belief that he was in danger, requesting transfer to

 another unit. Id. No such action was taken. The next day, three inmates physically assaulted

 and severely beat Griffin, leaving him with “a fracture of the right orbital bone—a broken eye




 9
   The video is available at https://www.nydailynews.com/2024/07/27/see-it-video-from-inside-
 troubled-brooklyn-federal-jail-mdc-shows-brutal-gang-stabbing/.

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 socket, in layman's terms—as well as a laceration to his right eye and swelling and bruising of

 the eye and face.” Id. at *2. He was treated at a hospital, where doctors advised that he required

 an ophthalmological consult and possible follow-up surgery. While his face remained swollen

 and painful for weeks thereafter, MDC failed to provide any appropriate medical care. Id.

        June 2024 - Extensive media reports indicate that on June 7, 2024, an inmate named

 Uriel Whyte was fatally stabbed in the neck in a dispute over drugs within the confines of the

 facility. 10 In a letter to my colleague, Judge Azrack, who presided over Whyte’s prosecution, the

 Government confirmed only that Mr. Whyte had “passed away.” United States v. Whyte, 21-CR-

 390(JMA), DE 52. The death of Mr. Whyte appears to be subject of an ongoing investigation,

 yet there seems to be little doubt that Mr. Whyte was slain while at MDC.




 10
    “Inmates Decry Conditions Inside Brooklyn Jail,” Spectrum News NY1, available at
 https://ny1.com/nyc/all-boroughs/politics/2024/06/24/brooklyn-federal-jail-murder-conditions;
 Annese, J., “Inmate at Brooklyn’s troubled Metropolitan Detention Center is stabbed to death:
 sources,” New York Daily News, June 20, 2024.

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        July 2024 - About six weeks after the Whyte killing, on July 17, 2024, the Court was

 advised of a lockdown of the facility based upon a “grave          AA                           i bop.gov

                                                                 lillEi An official websi te of the United States government.
 security situation.” Subsequent reports revealed that this       Here's how you know v



 situation was, in fact, the apparent killing of another          ~ BOP                                                         MENU



 inmate during a physical altercation among prisoners

 housed at MDC. See, e.g., Fadulu, L., “Inmate Dies After

 Fight Breaks Out at Troubled Brooklyn Jail,” The New

 York Times, July 17, 2024. 11 For days afterwards, the

 BOP website reflected that the facility remained on

 lockdown, as the site read “All visiting at this facility has

 been suspended until further notice.” This presumably
                                                                  MDC Brooklyn
                                                                  An administrative security metropolitan detention center.
 arose from the second fatal attack upon an inmate at the

 facility in the space of six weeks.

        Taken together, these incidents demonstrate a woeful lack of supervision over the facility,

 a breakdown of order and an environment of lawlessness within its confines that constitute

 unacceptable, reprehensible and deadly mismanagement. And these conditions bear heavily on

 the determination by the Court in this case.

        Relation to the Instant Sentencing Problem

        If the Court imposes a sentence of a year or less in this case, the Bureau of Prisons

 (“BOP”) may well direct that the sentence be served at the MDC. Under current practice,

 immediate surrender of the defendant makes this possibility more likely, however, even if the




 11
   Available at https://www.nytimes.com/2024/07/17/nyregion/inmate-dies-metropolitan-
 detention-center.html

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 Court were to delay surrender until designation, the defendant may still be designated to serve

 the time imposed at MDC. Given the age and medical condition of this defendant, such an

 outcome would offer unacceptable risks and would be inconsistent with the mandate to provide a

 sentence that is sufficient but not greater than necessary to satisfy the purposes of the sentencing

 statutes.

         At the same time, this Court is precluded from designating a particular institution for the

 service of a sentence. Section 3621(b) of Title 18, United States Code provides that the “Bureau

 of Prisons shall designate the place of the prisoner’s imprisonment” and cautions that “a

 designation of a place of imprisonment under this subsection is not reviewable by any court.” In

 other words, “courts lack the authority to designate a defendant's place of incarceration when the

 defendant is sentenced to a term of prison.” United States v. Guiro, 887 F. Supp. 66, 69

 (E.D.N.Y. 1995)

         As noted, the Sentencing Guidelines carry an advisory sentence of 18 to 24 months, and

 the Government advocates for a 15 month sentence. Defense counsel has suggested that this

 Court should impose no period of incarceration, arguing among other things that other judges in

 the Eastern District of New York have opted to forgo short periods of incarceration because of

 the risks at MDC. Indeed, sentencing arguments based on the reportedly deplorable conditions at

 MDC have become so commonplace that—quite understandably—counsel routinely raise the

 issue in a shorthand fashion, as lawyers and judges have grown weary of extended articulation.

 See, e.g., United States v. Hernandez, 23-CR-530 (GRB), DE 18 at 3 (“I will not belabor the

 horrific conditions of the MDC to this Court, as Your Honor is well aware of the national

 disgrace it has become.”).




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        These circumstances present a conundrum. Evaluating the statutory factors indicates that

 a sentence of incarceration is warranted. On the other hand, the defendant, like the defendant in

 Chavez, is over 70 years of age, faces significant health challenges and has no criminal record.

 Thus, a sentence of incarceration imposed, if that sentence would be served at the MDC, would

 most assuredly be excessive under § 3553. Griffin, 2024 WL 2891686, at *3 (“In the end, the

 most important part of the instant Section 3553(a) analysis is that the most ‘effective manner’ of

 correctional treatment in this case did not include a fractured eye socket.”). As such, the

 possibility that the defendant would be designated to MDC for some or all of the sentence

 proves, under present circumstances, unacceptable.

        Thus, the defendant is hereby sentenced to a term of imprisonment of nine months. The

 defendant will remain on bail and pre-trial supervision under the same terms and conditions that

 have governed his release to this point, until a facility is designated by the BOP for service of his

 sentence. Assuming that the BOP designates a facility other than the MDC, then matters will

 proceed accordingly. However, if the BOP opts to designate MDC as the relevant facility, then

 the imposed term of imprisonment will be vacated and, in its place, the defendant shall serve

 nine months of home incarceration with electronic monitoring, with the costs of such to be paid

 by the defendant.

        Providing that a term of incarceration be converted to home confinement in the event the

 BOP designates MDC as the carceral institution is undoubtedly unusual, yet is rooted in factors

 specifically incorporated into the statutory scheme. Several statutory considerations support this

 outcome. See, e.g., 18 U.S.C. § 3553(a)(1) (mandating consideration of the “characteristics of

 the defendant”); § 3553(a)(1)(A) (need to consider “just punishment”); § 3553(a)(2)(D)

 (requiring sentencing court to consider defendant’s “needed . . . medical care”); § 3553(a)(3)




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 (“the kinds of sentences available”); Griffin, 2024 WL 2891686, at *3 (basing compassionate

 release from MDC on § 3553(a)(2)(D)’s command that “the sentence must also account for the

 defendant’s ‘medical care’ needs and, more generally, the need to provide ‘correctional treatment

 in the most effective manner.’”).

        Congress has required that sentencing courts consider “the need to avoid unwarranted

 sentence disparities among defendants with similar records who have been found guilty of

 similar conduct.” § 3553(a)(6). The disparity factor encompasses a national measure, rather

 than one limited to local or case-specific comparisons. United States v. Stewart, No. 23-6330-

 CR, 2024 WL 3517853, at *2 (2d Cir. July 24, 2024) (“The primary purpose of Section

 3553(a)(6) is ‘to minimize nationwide disparities.’”). This factor applies with particular force to

 this case. A tax offender who is similarly—or even identically—situated to the defendant

 located anywhere else would not be sentenced to a term of incarceration at the MDC. For all of

 the reasons discussed herein, the present conditions at MDC make such a sentence materially

 different than one served at a jail or prison elsewhere in the United States that is appropriately

 managed. A sentence served at MDC is materially different and necessarily disparate from one

 served elsewhere. Thus, the sentence imposed represents the best approach the Court can

 fashion under the circumstances to effect all the statutory purposes.

        In addition to the foregoing, the Court imposes restitution in the amount of $554,241, a

 fine of $120,000 and $1,200 special assessment. I will not impose supervised release subsequent

 to the term of imprisonment as I do not believe that it will serve any of the purposes of the

 sentencing statute. I find, taken together, this sentence is sufficient but not greater than




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 necessary to comply with the purposes of the guidelines and the statutory scheme while

 reflecting the seriousness of the crime.

        SO ORDERED.

        Dated: Central Islip, New York
               August 5, 2024



                                                           /s/ Gary R. Brown
                                                           GARY R. BROWN
                                                           United States District Judge




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